     Case 3:09-cr-04424-JAH                          Document 163               Filed 03/25/13                PageID.1390        Page 1 of 2


                                                                                                                       FILED
    ">.AO 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
                Sheet I
                                                                                                                       MAR 2
                                                                                                                  CLERK, U.s. DISTRICT COURT
                                                                                                                    E N DISTRICT OF CALIFORNIA
                                                                                                                                         DEPUTY
                                                     SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                         V.                                      (For Revocation of Probation or Supervised Release)
                                                                                 (For Offenses Committed On or After November 1, 1987)
                             Benny Lopez        -I

                                                                                 Case Number: 09-cr-04424-JAH-I

                                                                                  Lisa Kay Baughman
                                                                                 Defendant's Attomey
    REGISTRAnON No. 06920298
o
    THE DEFENDANT:
     o                                                             6..::&:...:::.8::..,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        admitted guilt to violation of allegation(s) No,,..:5::';'c:::.

     D was found in violation ofaltegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _after denial ofguilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty ofthe following allegation(s):


    AUegatioD Number                          Nature ofViolatjoD
           5,6,8              Unlawful use of a controlled substance, Violent Crime Control Act (nv3a)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through                  4     of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


              IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days ofany
    change of name, residence. or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Untted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                  March 21, 2013
                                                                                 Date of Imposition of Sentence




                                                                                      ITED STATES DISTRICT JUDGE




                                                                                                                               09-cr-044 24-JAH-I
   Case 3:09-cr-04424-JAH                           Document 163                  Filed 03/25/13              PageID.1391             Page 2 of 2


AO 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for R.,·ocations
           Sheet 2 - Imprisonment

                                                                                                              Judgment   Page ~ of
 DEFENDANT: Benny Lopez -1
 CASE NUMBER: 09-cr-04424-JAH-l
                                                                   IMPRISONMENT
          The defendant is hereby eommitted to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          Eight months.




     o The court makes the following recommendations to the Bureau of Prisons:

     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                         Oa.m.             Op.m.    on
                 as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before ------------------------------------------------------------------------
           o as notified by the United States Marshal. .
           o as notified by the Probation or Pretrial Services Office.
                                                                            RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                                 to

 at _______________ , with a certified copy of this judgment.


                                                                                                            UNITED STATES MARSHAL

                                                                                  By
                                                                                       ----------~D~E~P~lIT~Y~U~N=IT~E=D~S~TA~T=E~S~M~A~R~S~H~AL~-----------




                                                                                                                                     09-cr-04424-JAH-l
